Case 2:04-cr-20372-SH|\/| Document 27 Filed 04/21/05 Page 1 of 2

IN THE UNITED STATES DISTRICT COURT
FOR THE WESTER.N DISTRICT OF TENNESSEE
WESTERN DIVISION

UNITED STA'I'ES OF AMERICA,

Plaintiff,

VS.

ANTHONY DRIVER ,

~__¢~_._,,~.._,`...._._,...,`.,`,

Defendant.

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CR. NO. 04~20372*01-Ma

 

ORDER ON CONTIN'UANCE AND SPECIFYING PERIOD OF EXCLUDABLE DELAY

 

This cause came on for a report date on March 25, 2005.

Defense counsel requested a continuance of the present trial date

in order to allow for additional preparation in the case.

The Court granted the request and continued the trial date to

the rotation docket beginning May 2, 2005 at 9:30 a.m.,

report date of Thursday, April 21, 2005 at 2:00 p.m.

The period fron\ Marcb. 25, 2005 through. May 13,

with a

2005 is

excludable under 18 U.S.C. § 3161(h)(8)(B){iv) because the

interests of justice in allowing additional time to prepare

outweigh the need for a speedy trial.

IT Is so onDERED this QAA day Of April, 2005.

JA{/wl.__

 

SAMUEL H. MAYS, JR.

UNITED STATES DISTRICT JUDGE

Th|s document entered on the docket eet |n co plianc-'a
with eula 55 and/or aa(b) FRch on fig/19

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 27 in
case 2:04-CR-20372 Was distributed by faX, mail, or direct printing on
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Honorable Samuel Mays
US DISTRICT COURT

